     Case 8:22-bk-10652-SC        Doc 89 Filed 09/19/22 Entered 09/19/22 10:33:15               Desc
                                   Main Document Page 1 of 2



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                                                                      FILED & ENTERED
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4                                                                           SEP 19 2022
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                                                                       CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
6                                                                      BY bolte      DEPUTY CLERK


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8
                             UNITED STATES BANKRUPTCY COURT
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                               CENTRAL DISTRICT OF CALIFORNIA
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                                       SANTA ANA DIVISION
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13   In re:                                         Case No.: 8:22-bk-10652-SC
14   Susan Jo White                                 CHAPTER 7
15                                                  ORDER SETTING HEARING ON
                                                    STIPULATION TO DISMISS
16
17                                                  Date:      October 11, 2022
                                                    Time:      11:00 a.m.
18                                    Debtor(s).    Courtroom: 5C - Virtual

19
20            Debtor and the United States Trustee have entered into a Stipulation to Dismiss
21   with a 180 day bar, filed September 9, 2022 [Dk. 82] (“Stipulation”). At a hearing on
22   September 13, 2022, on creditor’s motion to compel Debtor to answer questions, [Dk.
23   64], the creditor indicated that creditor would object to the Stipulation. No such
24   objection has been filed. The United States Trustee filed a Supplemental Proof of
25   Service on September 12, 2022 [Dk. 84], and another, serving all creditors, on
26   September 14, 2022 [Dk. 88].
27            Having reviewed the Stipulation and the docket as a whole, the Court finds it
28   appropriate to set the Stipulation for hearing on October 11, 2022, at 11:00 a.m. If no




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1    objection is filed by September 27, 2022, the Court will APPROVE the Stipulation
2    and vacate the hearing. If an objection is filed, the Court will review the objection and
3    will determine whether a hearing is necessary.
4          IT IS SO ORDERED.
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25        Date: September 19, 2022

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